                                           Northern District Of Ohio
                                         United States Bankruptcy Court
                                          405 Madison Ave Room 604
                                               Toledo, OH 43604
                                                Case No. 23−30365−jpg

In re:
   Melvin H. Balduf Jr.
   2549 Taft Ave
   Oregon, OH 43616
Social Security No.:
   xxx−xx−9452




                                                    FINAL DECREE


The Court, in reliance upon the certification of the case trustee, finds that the estate of the debtor(s) has been fully
administered.

    The deposit required by the Plan has been distributed.

It is therefore Ordered that:

    Patti Baumgartner−Novak is discharged as Trustee of the estate of the debtor and any bond required by 11
U.S.C. § 322 is cancelled.

    The Chapter 7 case of the debtor(s) is closed; and

    Other provisions as needed.




Dated: July 11, 2023
Form ohnb136a




      23-30365-jpg        Doc 18      FILED 07/11/23          ENTERED 07/11/23 19:25:11                Page 1 of 1
